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                                                   The Gity of New York
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                                                                              December 19,2017



          Bv ECF'Filine

          Magistrate Judge Ramon E. Reyes, Jr.
          United States District Court
          Eastem Distrist ofNew York
          225 Cadman Plaza East, Rm. N208
          Brooklyn, New York 11201

                          Re: Muchmore's Café. LLC v. Cibr ofNew York
                               I   4-cv-05 ó68 (RRIvIXRER)

          Your Honor:

                          Ty'e are the attorneys   for the plaíntiff Muchmore's Café, LLC and defendant City

          of New York in the above-referenced action which seeks a declaratory judgment declaring

          Section Z0-3Sg et seo. of the Administrative Code of the City of New York unconstitutional.


                          As directed in the Status Report Order of the Cor¡rt on November 11, 2Û17 we

          write this joint letter l'to report on the status of attorney's fees and submispion of [the] stipulation

          of dismissal" of tgis action. The bill repealing the Cabaret Law was signed ìnto law by Mayor

          DeBlasio on November 27, 2t17. On December                  l,   2A17,   plaintiffs atüorney submitted to

          defendant's counsel a Declaration regarding attorney's fees with exhibits, as well as the tirne

          records for four attorneys, Defendant's counsel has reviewed this submission and is awaiting

          Comptroller approval for an amount       ûo   be conveyed to   plaintiffs   counsel.
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                    If   the matÈer   of   attorney's fces   is   resolved, the parties intend    to execute a
                                 o'so
  Stipulatioa of Dismissal to be      orderedn'by the Cou¡t. If the matter of attomeys' fees is not

  resolved, plaintiffs counsel intends to subrnit a pre-motion letter to the Court, which nay seek

  relief unrElated to attorneys' fees, such as leave to amcnd the Complaint to address references to
  o.dancing"   of   "caba¡€ts'   in other provisions of the Ncw York Cþ Administative                       Code.


  Defend¡nt reserves its rigþt to object to aüy such request in the event a pre-motion letter is

  submitted.


                    Because    of the upcoüliog Chrisbras and New              Yearos holidays, defendantos

  counsel   will not bc in the office from Dec€mber 20th through           January 2'd' and   plaintiffs   counsel


  will   also be out of the office from Dsc€mb€, 2Ûth to December 29ü"


                    We respectfully request thal the Court extend to the parties two weeks after

  January 2od,lhat is to January       17,z}ll,to   be able to anivç at an agreernent regarding attorney's

  fees that is accept¿ble to both sïdcs.


                    Thank you for yotn consider*ion iu this regard.



                                                                        Very truly yor¡rs,



                                                                               I,tmrq-                               û/4-
                                                                        Ave Ma¡iaBrennan
                                                                        Assistaüt Corporation Counsel


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                                                                         Muchmore &,{ssociates PLLC

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       Cc:   By ECF filine

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